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By ECF

The Honorable Loretta A. Preska
United States District Judge
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: Chevron Corp. v. Steven Donziger, et al.;
Criminal Docket Number 19-561 (LAP);
Civil Docket Number 11-0691

Dear Judge Preska:

I write on behalf of Steven Donziger to request that the Court conduct an inquiry
of the prosecutors, directing them to disclose the full extent of their firm’s ties to the Chevron
Corporation.

The charges of criminal contempt against Mr. Donziger brought by Judge Kaplan
arise from an underlying, longstanding and especially contentious civil litigation between
Chevron and Mr. Donziger. The United States Attorney in this District declined Judge Kaplan’s
request that he prosecute Mr. Donziger for criminal contempt, and so J udge Kaplan invoked Rule
42 of the Federal Rules of Criminal Procedure to appoint three lawyers from the firm of Seward
& Kissel LLP (“Seward”), including Ms. Glavin, a Seward partner, to prosecute Mr. Donziger.

It appears from publicly-available information learned by counsel over the past
three weeks that Ms. Glavin’s law partner was a member of Chevron’s Board of Directors as
recently as 2018; at least two clients of Seward currently receive or have recently received
significant funding from an investment fund, whose Vice Chairman is currently a member of
Chevron’s Board of Directors and served on the Board concurrently with Ms. Glavin’s law
partner; and at least one other Seward client receives significant income from Chevron.

As Professors Bruce A. Green and Rebecca Roiphe have noted,

Because prosecutors themselves define the relevant public interests and objectives
of a criminal investigation or prosecution, determining whether an interest is likely to

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distort the prosecutor’s judgment or conduct is complicated. For private lawyers, a
conflicting interest is typically an interest or relationship that may make the lawyer
disloyal to the client - that is, an interest that may divert the lawyer from servicing the
client’s interests or furthering the client’s objectives as defined by the client. For
prosecutors, the idea of loyalty is more abstract and less salient.

The concept of disinteredness rather than loyalty better captures the imperative for
prosecutors....

[B]roadly construed, prosecutorial conflicts of interest can include any personal or
professional interests, relationships, or beliefs that might lead prosecutors to act in their
own self-interest or in others’ interests, rather than disinterestedly. These might
conceivably include personal or professional relationships, legal obligations or other
motivations, inducements or incentives that might lead prosecutors to serve their own or
private interests in the context of a criminal investigation or prosecution . . .

Bruce A. Green and Rebecca Roiphe, Rethinking Prosecutors’ Conflicts of Interest, Boston
College Law Review, Volume 58, Issue 2, April 3, 2017, at 471-72. See also, e.g., Young v.
United States ex rel. Vuitton et Fils, S.A., 481 U.S. 787 (1987); FTC v. American Nat'l Cellular,
868 F.2d 315, 318-19 (9" Cir. 1989) (“In Vuitton, the Court found that selection of a prosecutor
must be informed by the importance of impartiality, public confidence in the judicial process, and
the need to avoid even the appearance of impropriety .... The Court in Vuitton stressed that a
prosecutor seeking a contempt conviction must be both impartial in fact and appear to be so”).

My understanding of the ties between Seward and Chevron is limited to the
results of my research of publicly-available information that I have thus far discovered on my
own over the past few weeks. Ms. Glavin has declined to answer any of my questions about
Seward’s ties to Chevron. Thus, I respectfully request that the Court inquire to determine the full
extent of Seward’s ties to Chevron. Counsel’s research into the Seward-Chevron ties is
continuing. I believe that it is best practice to first request this inquiry before deciding whether to
seek disqualification.

When I raised this issue with Ms. Glavin, I also asked that she disclose whether
and the extent to which she or her Office has been in contact with Judge Kaplan or his Honor’s
Chambers during the pendency of this criminal case. She declined to answer. I believe it
important to clarify whether and the extent to which Judge Kaplan has played or is playing a
continuing role in this prosecution.

Respectfully submitted,
/s/

Andrew J. Frisch
cc: Ms. Rita Glavin
